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                              UNITED STATES DISTRICT COURT

                             SOUTHERN DISTRICT OF FLORIDA




                                                     Case No.: 25-cv-10018-JEM
  Sean D'Epagnier,
                               Plaintiff,            Civil Rights Complaint under
                                                     42 u.s.c. § 1983
         V.
  Michal Brablc, individually,
  Scott Standerwick, individually,
  Monroe County Sheriff's Office
                                                                           FEB 2 0 2025
                               Defendant(s).                                 ANGELA[. NOBl_E
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                                               Complaint

    1. Plaintiff resides at 13611 Willamette Drive, Westminster, Orange County, California 92683.

   2. Defendant Michal Brablc (herein referred to as "Defendant Brablc") at all times relevant

       herein, was a law enforcement officer with a work address of 1604 N Roosevelt Blvd., Key

       West, Monroe County, Florida 33040.

   3. Defendant Scott Standerwick (herein referred to as "Defendant Standerwick") at all times

       relevant herein, was a law enforcement officer with a work address of 1604 N Roosevelt

       Blvd., Key West, Monroe County, Florida 33040.

   4. Defendant Monroe County Sheriff's Office (herein referred to as "Defendant Sheriff') at all

       times relevant herein, was a law enforcement agency with a business address of 5525

       College Road, Key West, Monroe County, Florida 33040 and telephone number 305-292-

       7000.


   Complaint
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